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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

           v.
                                                       Criminal Action No. 18-00032 (DLF)
INTERNET RESEARCH AGENCY LLC, et al.,

                 Defendants.


                                   NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendant Concord Management and Consulting LLC

(“Concord”) hereby appeals to the United States Court of Appeals for the District of Columbia

Circuit from the order (ECF No. 54, entered August 13, 2018), memorandum opinion (ECF No.

55, entered August 13, 2018), and corrected memorandum opinion (ECF No. 58, entered August

15, 2018) denying Concord’s Motion to Dismiss the Indictment Based on the Special Counsel’s

Unlawful Appointment and Lack of Authority to Indict Concord (ECF No. 36).

Dated: August 27, 2018                          Respectfully submitted,

                                                CONCORD MANAGEMENT
                                                AND CONSULTING LLC


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